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                              UNITED STATES DISTRICT COURT
                              SO U TH ER N D ISTR ICT O F FL O RID A
                               CA SE N O :18-61555-C1V-lJN G A RO

ALK AW AN N A S.K ELLEY ,

              Plaintiff,


FLO RID A m TERN ATION AL U N IVERSITY ,

           D efendants.



       O R DE R SETTIN G IN ITIA L PLA NN IN G A ND SC H ED ULIN G C O N FER ENC E


         THIS CAUSE ishereby setting foran lnitialPlanning and Scheduling Conferencebefore

  the H onorable U rsula U ngaro,atthe United StatesCourthouse,400 N .M iam iAvenue,12th Floor,

  Courtroom 4,M iam i,Florida,on AU G U ST 31,2018 at9:30 A .M .

         CounselforthePlaintiffts)isinstructed to providecopiesofthisorderto a11counselof
  record and to any unrepresented partiesthathaveappeared in the case. Pursuantto Fed.R.CiV.P.

  26(9 andLocalRule16.1B,thepartiesarejointiyresponsibleforconferringtodevelopaproposed
  discovery plan;thereafter,the parties are to tqle and serve a JointPlarm ing and Scheduling R eport,

  togetherwithaproposedSchedulingOrder,andan attachedservicelistincludingtheparties'names,

  phonenum bersand facsimilenumbers.Thereportandproposed ordermustbefiled by AUGUST

  17,2018 and m ustrecite the following:

                A plain statem entofthenature ofthe claim and any counterclaim s,cross-claim s,or
                third-party claim ,including the am ount of dam ages claim ed and any other relief
                sought.

                A briefsumm ary ofthe factswhich areuncontested orwhich can be stipulated to
                w ithoutdiscovery.
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              A briefsumm ary oftheissuesaspresently known.

              W hetherdiscovery should be conduded in phasesorlim ited to particularissues.

              A detailed scheduleofdiscovery foreach party.

              Proposeddeadlinesforjoinderofotherpartiesandtoamendthepleadings,tofileand
              hearm otions and to com plete discovery.

              Proposed approxim atedatesforsnalpre-trialconferencesand trial.

              Theprojectedtimenecessaryfortrialandastatementofwhetherthecaseisjuryor
              non-jurytrial.
       9.     A listofa11pendingm otions,whethereachm otionisSiripe''forreview,thedateeach
              m otion becnm eripe,and asum maryoftheparties'respectivepositionswithrespect
              to eachripem otion.

              Any unique legalorfactualaspectsofthecaserequiring specialconsideration by the
              Court.

              Anypotentialneed forreferencesto aspecialm asterorm agistrate.

       12.    The statusand likelihood ofsettlem ent.

       13. SuchothermattersasarerequiredbyLocalRule 16.1(B)andasmayaidtheCourt
              in setting the case forstatusorpretrialconference and in the fairand expeditious
              administration and disposition ofthisaction.

                                  SER VIC E O F PR O CE SS
       Notwithstanding the provisions of FederalRule of CivilProcedure 4,the Plaintiff is
ordered to serveand filereturnsofserviceon allDefendantspromptly and atIeastno later
than 14 daysprior to the Planning and Scheduling Conference. ln the eventany D efendant
rem ains unserved by thatdate,Plaintiff m ustinclude in the Joint Planning and Scheduling
Report a detailed explanation sufficient to show good cause for the failure to effectservice.
IfPlaintifffailsto provide a sufficientexplanation,the unserved D efendantw illbe dism issed
from the action w ithoutfurther notice.

                    ELECTRONICALLY STORED INFORM ATION
       Ifthepartiesanticipatethatelectronicallystoredinformation(''ES1'')willberelevanttothe
parties'claims and defenses,they must engage in discussions and arrive at a plan,which is
proportionalandreasonablein relationtothenatureandcomplexityofthecase,forthepreservation,
identification,and production ofESI.Theplan shallbeseparately subm ittedto the Courtatthetim e
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offiling theproposed Scheduling OrderforCourtapproval.
        ln form ulating a plan,the partiesshallinclude,ifnecessary to the case,theirstipulation
regarding the specifcation ofthe form atsin which docum entsare to be produced,the metadata
tields,ifany,thatwillberequested,them ethodsby whichresponsivedocumentswillbeidentified,
theproceduresthey willemployto protectclaim sofprivilege,and otherrequirements,conditions
orprovisionsthatthepartiesbelievearenecessarytofacilitateandexpediteESldocum entdiscovery.

       W ithrespecttoinitialdisclosuresrequired underFed.R.Civ.P.26(a)(1)-(2),pursuantto
Rule26(a),thedisclosuresmustbemadeatorbeforethetimethepartiesconferto develop the
discoveryplan. Thepartiesm ustcertify in the JointScheduling Reportthatsuch disclosureshave

beenmadeunlessapartyobjectsduringtheconferencethattherequireddisclosurets)isnot
appropriateinthecircumstancesoftheactionandfilesanobjectiontothespecificdisclosurets)with
theCourt.Suchobjectionsmustbefilednolaterthanfifteen(15)dayspriortothelnitialPlanning
andSchedulingConferenceandmustincludeafullexplanationofthebasisfortheobjections.
       ln theeventthatm otionsarepending beforetheCourtatthetime oftheConference,the

partiesshallbe prepared to argue,atthe Court'sdiscretion,themeritsofsuch m otions.

       In the event the Court issues a Scheduling O rder prior to the Initial Planning and

Scheduling C onference based on the inform ation provided by the parties in their Joint

Planningand SchedulingReport,theC ourtw illnotify the partiesw hethertheC onferencew ill

be canceled.

       DO N E A N D O RD ER ED    this /         dayofJuly,2018atMiami,Florida.

                                           U R SU LA UN G A R O
                                           U NITE D STA TES D ISTRIC T         DG E

cc:al1counselofrecord
